APPROVED and SO ORDERED.

November, 2006.

(jp MurthA, 7 District Court

Dated at Brattleboro, Vermont this

 

 

  

Case 1:06-cv-00055-jgm Document 35 Filed 11/09/06 Page 1 of.1

UNITED STATES DISTRICT COURT «1 s4cHT
FOR THE DISTRICT OF VERMONT ~*~

oud HOV - 2: 33

 

)
BARBARA FLANDERS, )
Plaintiff, - by oar “ Y ke _
Vv ) Civil Action No. i: 06-CV- 55
)
)
BARRY CALLEBAUT USA, LLC, )
Defendant. )
)

 

STIPULATION OF DISMISSAL WITH PREJUDICE
NOW COME the parties, by and through their attorneys, and stipulate to the dismissal
of the above captioned matter, including all claims and counterclaims, with prejudice pursuant
to Fed. R. Civ. Proc. 41(a). Each party shall bear its own fees, costs and expenses associated
with this matter.

DATED at Burlington, Vermont, this zw fr day of October, 2006.

 

 

BARBARA FLANDERS BARRY CALLEBAUT USA, LLC
By her attorney: By its attorney:

Edwin L. Hobson, Esq. thomas | Somers, Esq.

289 College Street Hoff Curtis

Burlington, VT 05401-8320 100 Main Street, P.O. Box 1124
802-863-2000 Burlington, VT 05402-1124

802-864-6400

0296\095\Stipulation. Dismiss
